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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


DOUGLAS LINDLAND and ANNE
LINDLAND,
                                                            Civil Action No. 11-12308
                 Plaintiffs,
         v.
                                                             (Massachusetts Superior Court, Essex
                                                             County, Civil Action No. 2011-
BANK OF AMERICA, N.A. and BAC HOME
                                                             02246-D)
LOANS SERVICING, LP,

                 Defendants.


                                     NOTICE OF REMOVAL

         Defendant Bank of America, N.A., for itself, and as successor by merger to BAC Home

Loans Servicing, LP (“Bank of America”), hereby removes the above-captioned action, Civil

Action No. 2011-02246-D, currently pending in the Superior Court in Essex County,

Massachusetts, Lawrence Division, to the United States District Court for the District of

Massachusetts. Removal is based on 28 U.S.C. § 1331 (federal question jurisdiction) and 28

U.S.C. § 1332 (diversity jurisdiction) and is authorized by 28 U.S.C. §§ 1441 and 1446. As

grounds for removal, Bank of America states as follows:

                                         BACKGROUND

         1.      On or about December 1, 2011, Plaintiffs Douglas Lindland and Anne Lindland

(“Plaintiffs”) filed a Complaint with the Clerk of the Superior Court for Essex County,

Massachusetts (“State Court”). In the State Court, this action was assigned Civil Action Number

2011-02246-D. Attached hereto as Exhibit A is a copy of all process and pleadings served upon

Bank of America in the State Court action.

         2.      The Complaint purports to assert claims for alleged violations of the Truth In

Lending Act, 15 U.S.C. § 1601, et seq., (“TILA”) and Regulation Z, the Home Ownership and


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Equity Protection Act, 15 U.S.C. § 1639 (“HOEPA”), the Real Estate Settlement Procedures Act,

12 U.S.C. § 2601, et seq., (“RESPA”), the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.,

(“FCRA”), the Fair Debt Collection Practices Act, (“FDCPA”) 15 U.S.C. § 1692, et seq., the

federal Home Affordable Modification Program (“HAMP”), and the Civil Rackateer Influenced

and Corrupt Organizations Act, 18 U.S.C. § 1961, et seq. (“RICO”).

         3.      The Complaint also purports to assert claims for impairment of credit rating,

defamation, breach of contract, breach of the implied covenant of good faith and fair dealing,

fraud, fraud in the inducement, misrepresentation, negligent servicing, unjust enrichment,

estoppel, intentional and negligent inflection of emotional distress, negligence, tortious

interference with contractual relations, and violation of Massachusetts General Laws Chapter

93A.

         4.      All of the claims in the Complaint arise out of either the origination or servicing

of the mortgage on Plaintiffs’ residence in Massachusetts, or the alleged refusal to modify

Plaintiffs’ mortgage loan.

           STATUTORY REQUIREMENTS – 28 U.S.C. §§ 1331, 1332, 1441, & 1446

         5.      Removal of this case is proper pursuant to 28 U.S.C. § 1441(a), which entitles a

defendant to remove “any civil action brought in a State court of which the district courts of the

United States have original jurisdiction.” This Court has original jurisdiction over this lawsuit

pursuant to 28 U.S.C. § 1331 (federal question jurisdiction) and 28 U.S.C. § 1332 (diversity

jurisdiction).

         6.      Federal Question Jurisdiction. This Court has original jurisdiction over Plaintiffs’

action under 28 U.S.C. § 1331 because Plaintiffs seek recovery under the laws of the United

States, specifically, TILA, HOEPA, RESPA, FCRA, FDCPA, RICO, and the federal program,



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HAMP. Plaintiffs’ federal claims arise from the origination or servicing of Plaintiffs’ mortgage

loan, and/or the alleged refusal of a mortgage loan modification. Specifically, Plaintiffs allege

that Bank of America violated TILA, HOEPA and RESPA by failing to disclose certain

information related to their mortgage loan prior to or at the time of closing. Ex. A (Compl. at ¶¶

92-93, 97-98, 102). Plaintiffs also allege that Bank of America violated FCRA, FDCPA and

RICO with respect to the servicing of Plaintiffs’ mortgage. Id. (Compl. at ¶¶ 106-110, 126-128,

138). Plaintiffs further allege Bank of America violated RICO and HAMP with respect to the

Plaintiffs’ loan modification request. Id. (Compl. at ¶¶ 133-135, 138).

         7.      Supplemental Jurisdiction. This Court has supplemental jurisdiction over

Plaintiffs’ Massachusetts General Laws Chapter 93A claim, as well as Plaintiffs’ purported state

common-law claims for impairment of credit rating, defamation, breach of contract, breach of

the implied covenant of good faith and fair dealing, fraud, fraud in the inducement,

misrepresentation, negligent servicing, unjust enrichment, estoppel, intentional and negligent

inflection of emotional distress, negligence, and tortious interference with contractual relations

as these claims are so related to the federal claims that they form part of the same case or

controversy. 28 U.S.C. § 1367. Plaintiffs’ state-law claims do not raise novel or complex issues

of state law or substantially predominate over their federal claims. See id. § 1367(c).

         8.      Diversity of Citizenship. Removal of this case is proper pursuant to 28 U.S.C.

§ 1332 because diversity of citizenship exists between the parties and the amount in controversy

exceeds $75,000.

         9.      Diversity of citizenship exists where the parties to an action are citizens of

different States. See 28 U.S.C. § 1332(a)(1).




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         10.     Upon information and belief, Plaintiffs are citizens of Massachusetts. Ex. A

(Compl. ¶ 1).

         11.     Bank of America is, and at all times relevant to this action was, a national banking

association with its principal and main place of business in Charlotte, North Carolina. Bank of

America’s articles of association designate North Carolina as the location of its main office.

         12.     Therefore, Bank of America is a citizen of North Carolina for diversity purposes.

See Wachovia v. Schmidt, 546 U.S. 303, 318 (2006) (holding that, for diversity purposes, a

national bank is a citizen of the state designated in its articles of association as its main office).

         13.     Amount in Controversy. To qualify for diversity jurisdiction, the amount in

controversy must exceed $75,000. See 28 U.S.C. § 1332(a).

         14.     Although Bank of America denies that Plaintiffs are entitled to recover any

amount, and specifically denies that Plaintiffs are entitled to any relief whatsoever, the

Complaint’s allegations primarily relate to damages incurred as a result of Bank of America’s

alleged refusal to modify Plaintiffs’ loan and alleged statutory violations.

         15.     Plaintiffs, in particular, allege that damages “are likely to exceed $25,000.” Ex. A

(Compl. ¶ 4).

         16.     In addition, Plaintiffs allege they are entitled to treble damages in connection with

Bank of America’s alleged RICO violation. Ex. A (Compl. ¶ 141).

         17.     Although Bank of America contends that Plaintiffs would not be entitled to treble

damages even if they succeed in their underlying claims, the Court can properly consider the

claim for treble damages in determining the amount in controversy for the purposes of

establishing diversity jurisdiction, regardless whether Plaintiffs would ultimately succeed in




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being awarded such damages. See F.C.I. Realty Trust v. Aetna Casualty & Surety Co., 906 F.

Supp. 30, 32 n.1 (D. Mass 1995).

         18.     If treble damages are applied to the amount Plaintiffs allege in their Complaint,

then the amount in controversy exceeds the $75,000 threshold set by 28 U.S.C. § 1332(a) before

attorneys’ fees or any other elements of Plaintiffs’ claimed damages are considered.

         19.     For these reasons, complete diversity exists among the parties to this action.

                   PROCEDURAL REQUIREMENTS AND LOCAL RULES

         20.     Removal to Proper Court. This Court is part of the “district and division”

embracing the place where this action was filed – Essex County, Massachusetts. See 28 U.S.C.

§ 1446(a).

         21.     Removal is Timely. Bank of America is entitled to remove this action from the

State Court at any time up to 30 days after formal service of a complaint. See 28 U.S.C. §

1446(b). The Complaint in this action was served on Bank of America on or around

December 6, 2011. Therefore, Bank of America’s removal is timely because it removed this

action within 30 days as required by 28 U.S.C. § 1446(b).

         22.     Consent of All Defendants. BAC Home Loans Servicing, LP has merged into

Bank of America, N.A. Therefore, because BAC Home Loans Servicing, LP is not a proper

party, and Bank of America, N.A. has appeared as successor by merger to BAC Home Loans

Servicing, LP, consent of BAC Home Loans Servicing LP is neither applicable nor required.

         23.     Pleadings and Process. Attached hereto as Exhibit A is a copy of all pleadings

and process in the State Court action that have been served upon Bank of America. No State

Court orders have been served on Bank of America. See 28 U.S.C. § 1446(a). Pursuant to Local

Rule 81.1(a), Bank of America will file certified or attested copies of all records, proceedings,



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and docket entries in the State Court within 28 days of the filing of this Notice of Removal.

Bank of America has paid the appropriate filing fee to the Clerk of this Court upon the filing of

this Notice.

         24.     Notice. Bank of America will promptly serve upon Plaintiffs’ counsel and file

with the Clerk of the Superior Court for Essex County, Massachusetts, Lawrence Division,

notice of the filing of this Notice of Removal. See 28 U.S.C. §§ 1446(a) and (d). Bank of

America will also file a Notice of Filing Notice of Removal, pursuant to 28 U.S.C. § 1446(d),

with the Clerk of the Superior Court for Essex County, Massachusetts, Lawrence Division. The

Notice of Filing Notice of Removal is attached hereto as Exhibit B.

         25.     Signature. This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11. See

28 U.S.C. § 1446(a).

         26.     Bond and Verification. Pursuant to Section 1016 of the Judicial Improvements

and Access to Justice Act of 1988, no bond is required in connection with this Notice of

Removal. Pursuant to Section 1016 of the Act, this Notice need not be verified.

         27.     Based upon the foregoing, this Court has jurisdiction over this matter pursuant to

28 U.S.C. §§ 1331 and 1332, and the claims may be removed to this Court under 28 U.S.C. §§

1441 and 1446.

         WHEREFORE, this action should proceed in the United States District Court for the

District of Massachusetts, as an action properly removed thereto.




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                                                      Respectfully submitted,

                                                      BANK OF AMERICA, N.A., FOR ITSELF,
                                                      AND AS SUCCESSOR BY MERGER TO
                                                      BAC HOME LOANS SERVICING, LP

                                                      By its attorney,

                                                      /s/ Laura S. Craven
                                                      Laura S. Craven (BBO # 652276)
                                                      GOODWIN PROCTER LLP
                                                      Exchange Place
                                                      53 State Street
                                                      Boston, MA 02109
                                                      Tel.: 617-570-1000
                                                      Fax: 617-523-1231
                                                      lcraven@goodwinprocter.com

Dated: December 27, 2011




                                 CERTIFICATE OF SERVICE

        I, Laura S. Craven, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF), and that paper copies will be sent to those indicated as non-registered participants on
December 27, 2011.


                                                                /s/ Laura S. Craven
                                                                Laura S. Craven




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